Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7907 Page 1 of 7



   1   SEAN M. REAGAN (Texas Bar No. 24046689)
       (Pro Hac Vice)
   2   sean@reaganfirm.com
   3   THE REAGAN LAW FIRM
       P.O. BOX 79582
   4   Houston, Texas 77279
       Telephone: 888.550.8575
   5
   6
   7
   8                     UNITED STATES DISTRICT COURT
   9                   SOUTHERN DISTRICT OF CALIFORNIA
  10
  11   IN RE: OUTLAW LABORATORY, LP          Case No. 3:18-cv-840-GPC-BGS
       LITIGATION
  12
                                             Outlaw Laboratory, L.P., Michael
  13                                         Wear, and Shawn Lynch’s Ex
                                             Parte Motion to Stay Pretrial
  14                                         Deadlines as to the Outlaw
  15                                         Defendants

  16

  17
  18
  19

 20
  21
  22
  23
  24
  25
  26
  27
  28

                                                          CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7908 Page 2 of 7



   1          The “Outlaw Defendants” request an ex parte order staying all pretrial
   2
       deadlines with respect to trial preparation, including filing pretrial disclosures,
   3
       exchanging exhibits, contributing to the joint pretrial order, preparing a jury
   4
   5   charge, and so on.

   6                            Outlaw Defendants’ Position
   7         The Outlaw Defendants settled with the Stores about three months ago. See
   8
       ECF 249. The Stores are the only parties that asserted claims against the Outlaw
   9
       Defendants. Thus, the parties’ settlement agreement extinguishes and resolves the
  10
  11   only pending claims in this lawsuit that have been filed against the Outlaw
  12   Defendants. But Tauler Smith’s objections to the settlement agreement remain
  13
       pending with the Court. See ECF 290. The Outlaw Defendants maintain that Tauler
  14
       Smith’s objections to the settlement lack merit and that the Outlaw Defendants
  15
  16   should be dismissed from this lawsuit per their agreement with the Stores.

  17         While Tauler Smith’s objections to the settlement remain pending, there are
  18
       various deadlines for filing pretrial disclosures and the joint pretrial order. See ECF
  19
       155. The Outlaw Defendants ask that trial preparation deadlines set forth in ECF
 20
  21   155 be stayed as to the Outlaw Defendants pending the resolution of Tauler Smith’s

  22   objection to the settlement at issue. The Outlaw Defendants settled with the Stores
  23
       to avoid the expense of litigation. The Outlaw Defendants should not have to
  24
       expend resources and money in preparing pretrial disclosures, preparing exhibits,
  25
       objecting to exhibits, preparing a jury charge, and preparing a joint pretrial order
  26
  27   when they have settled the only pending claims against them.
  28

                                                  1                 CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7909 Page 3 of 7



   1         Moreover, the Outlaw Defendants have no meaningful way to prepare for
   2
       trial. As set forth in the undersigned’s declaration filed with the Court (ECF 241),
   3
       Tauler Smith—the party objecting the Outlaw Defendants’ settlement and keeping
   4
   5   them in this case—has refused to provide Outlaw, its former client, with its

   6   complete file and a complete accounting. See ECF 241 at ¶¶ 8–16; see also, CAL.
   7   RULE OF PROF’L CONDUCT 1.15 (a lawyer is required to, among other things,
   8
       “maintain complete records of all funds, securities, and other property of a client or
   9
       other person coming into the possession of the lawyer or law firm” and “preserve
  10
  11   records of all funds and property held by a lawyer or law firm under this rule for a
  12   period of no less than five years after final appropriate distribution of such funds or
  13
       property.”); CAL. RULE OF PROF’L CONDUCT 1.16(e)(1) (“Upon the termination of a
  14
       representation for any reason … the lawyer promptly shall release to the client, at
  15
  16   the request of the client, all client materials and property. Client materials and

  17   property includes correspondence, pleadings, deposition transcripts, experts’
  18
       reports and other writings, exhibits, and physical evidence, whether in tangible,
  19
       electronic or other form, and other items reasonably necessary to the client’s
  20
  21   representation, whether the client has paid for them or not.”).

  22         That is, Tauler Smith has severely hamstrung the Outlaw Defendants’ ability
  23
       to prepare its defense, which is one of the reasons the Outlaw Defendants were
  24
       compelled to settle this case in the first place. Specifically, the Outlaw Defendants
  25
       don’t know each store Tauler Smith sent a demand letter to, how much money
  26
  27   Tauler Smith actually took in, or how much money Tauler Smith actually paid itself.
  28

                                                  2               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7910 Page 4 of 7



   1   Nor do the Outlaw Defendants know what Tauler Smith did with all the settlement
   2
       agreements it negotiated, as Tauler Smith has only produced a handful of
   3
       settlement agreements to date. Therefore, if the settlement agreement between the
   4
   5   Stores and the Outlaw Defendants is set aside (it should not be), then the Outlaw

   6   Defendants will be forced to try this case without their complete file, without an
   7   accounting from their former attorney, without knowing each store Tauler Smith
   8
       sent a demand letter to, and without knowing each store Tauler Smith inked a
   9
       settlement agreement with—which is all information and documentation that
  10
  11   Tauler Smith has refused to turn over to its former client.
  12         Furthermore, the Outlaw Defendants served the Stores with discovery
  13
       requests in May and June 2020, which were not responded to. The Outlaw
  14
       Defendants did not press forward with obtaining court intervention on a possible
  15
  16   discovery dispute with the Stores because the Outlaw Defendants soon settled with

  17   the Stores. That is, because the Outlaw Defendants had settled with the Stores, they
  18
       saw no need to waste money and judicial resources on litigating a discovery dispute
  19
       with the very parties they had settled with. Regardless, the Outlaw Defendants, in
  20
  21   addition to not having their complete file and an accounting, have no discovery

  22   responses from the Stores. The Outlaw Defendants have therefore effectively been
  23
       denied the opportunity to prepare for trial by Tauler Smith’s actions.
  24
             The Outlaw Defendants therefore ask that the pretrial trial preparation
  25
       deadlines (ECF 155) be stayed as to the Outlaw Defendants until Tauler Smith’s
  26
  27   objections to the parties’ settlement agreement have been resolved. Again, the
  28

                                                 3              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7911 Page 5 of 7



   1   Outlaw Defendants should have to expend significant resources and money in
   2
       preparing for trial when it settled the only pending claims against them months
   3
       ago.
   4
   5                                Tauler Smith’s Position

   6          Tauler Smith opposes this motion.
   7                                  The Stores’ Position
   8
              While the Stores take no position on Outlaw’s motion, they believe it wholly
   9
       unnecessary, and they find Tauler Smith’s insistence on such a proceeding to be
  10
  11   fully consistent with the arguments set forth in the Stores’ pending motion for Sec.
  12   1927 and Local Rule 83.1 sanctions. The ink on the Stores’ settlement with Outlaw
  13
       and its owners has been dry for three months. The Stores will not pursue any claims
  14
       against Outlaw or its owners at trial, and they are not aware of any authority in
  15
  16   federal jurisprudence that would give the Court the authority to either “approve” or

  17   “deny” the settlement. Respectfully, Outlaw should have been formally dismissed
  18
       from these proceedings back in July, because the evaluation of whether to give
  19
       “notice” of the settlement (to class members that Tauler Smith claims cannot be
  20
  21   identified) under Diaz is wholly irrelevant to whether Outlaw remains a party. See

  22   ECF 308; Diaz v. Trust Territory of Pacific Islands, 876 F.2d 1401 (9th Cir. 1989).
  23
              As with the long litany of other procedural shenanigans set forth in the
  24
       Stores’ pending motion for sanctions, Tauler Smith’s insistence that its former
  25
       client incur further attorneys’ fees in preparation for a trial that Outlaw will in no
  26
  27   circumstance be a part of, is entirely frivolous. It serves no goal other than to waste
  28

                                                  4               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7912 Page 6 of 7



   1   the Court’s and the other parties’ time, and to deprive far more deserving litigants
   2
       of the Court’s attention. More than anything, Tauler Smith’s position on this point
   3
       is consistent with Mr. Tauler’s professed intention to string this litigation out “for
   4
   5   the next three years at least.” ECF 300-26 at 1 (July 2, 2020 email from R. Tauler

   6   to S. Reagan). Respectfully, the Stores believe that the Court should take steps to
   7   guard against facilitating Mr. Tauler’s intentions in that regard.
   8
       October 30, 2020.                              THE REAGAN LAW FIRM
   9
  10
  11                                                  By: /s/ Sean Reagan
                                                            Outlaw Laboratory, LP
  12                                                        Michael Wear
  13                                                        Shawn Lynch

  14
  15                                                  By: /s/ Mark Poe
                                                            NMRM, Inc. et al
  16

  17
  18
  19

  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                  5              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 319 Filed 10/29/20 PageID.7913 Page 7 of 7



   1                           CERTIFICATE OF SERVICE
   2                           Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY that on October 30, 2020, I filed the following
   4   documents with the Clerk of the Court using CM/ECF. I also certify that the
   5   foregoing document is being served this day either by Notice of Electronic Filing
   6   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
   7   service.
   8
   9                                               By: /s Sean M. Reagan
  10
  11
  12
  13
  14
  15
  16

  17
  18
  19

 20
  21
  22
  23
  24
  25
  26
  27
  28

                                               1                           CERT. OF SERVICE
